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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND



  STATE OF COLORADO, et al.,

              Plaintiffs,

        v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

              Defendants.




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                            DECLARATION OF MARLIES PEREZ

                I, Marlies Perez, declare as follows:

        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the California Department of Health Care Services

 (DHCS) as the Division Chief of the Community Services Division (CSD) of Behavioral Health.

        3.      I have held a Division Chief position within DHCS since 2013. As the Division

 Chief of CSD, I am the Single State Agency California representative for the U.S. Department of

 Health and Human Services (HHS), Substance Use and Mental Health Services Administration

 (SAMHSA) as well as the State Mental Health Authority that oversees Community Mental

 Health Services Block Grant (MHBG) Contacts. Furthermore, my responsibilities include

 leading, planning, organizing, and overseeing CSD staff of approximately 175 individuals and

 overseeing over ten (10) billion dollars of behavioral health services state and federal grant

 funding, including the Substance Use Prevention, Treatment and Recovery Services Block Grant

 (SUBG), Community Mental Health Services Block Grant (MHBG), Project for Assistance in

 Transition from Homelessness (PATH), American Rescue Plan Act (ARPA), Coronavirus

 Response and Relief Supplemental Appropriations Act (CRRSAA). Additionally, I have 12

 years of executive leadership within the programmatic functions of DHCS, including but not

 limited to extensive stakeholder engagement with State agencies.

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                                  DHCS Background Information
        4.      DHCS is the backbone of California’s healthcare safety net. DHCS is the single

 state agency responsible for administering the state’s Medicaid program, Medi-Cal, which

 provides comprehensive health care services at no or low cost for low‑income individuals. Medi-

 Cal is authorized and funded through the Medicaid federal-state partnership.

        5.      Medi-Cal programs cover physical health, mental health, substance use disorder,

 pharmacy, dental, and long-term services and supports. As of January 2025, Medi-Cal serves

 approximately 14.5 million Californians, making the Department the largest health care

 purchaser in California.

        6.      Besides Medi-Cal, DHCS also administers and oversees the Children’s Health

 Insurance Program (CHIP), and several health-related federal grants. The Department also

 administers programs for special populations and several other programs, as well as

 county‑operated community mental health and substance use disorder programs. Among those

 almost 15 million Californians covered by DHCS programs are 5 million children—more than

 half of all California’s kids, 2.3 million seniors and people with disabilities, and 3.4 million

 working Californians—nearly one in five of all California workers.

        7.      In addition to Medicaid, DHCS receives significant funding, directly and

 indirectly, pursuant to from other federal programs, including the Substance Abuse and Mental

 Health Services Administration (SAMHSA),

                                             Background

        8.      In 2021, SAMHSA invited applications for Substance Use Prevention, Treatment,

 and Recovery Services Block Grant and Community Mental Health Services Block Grant

 programs pursuant to the Coronavirus Response and Relief Supplemental Appropriations Act

 (SUBG CRRSAA, MHBG CRRSAA) and pursuant to the American Rescue Plan Act (SUBG

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 ARPA, MHBG ARPA), and the COVID-19 Mitigation grant. DHCS applied for and was

 awarded five block grants with a total value of $746,526,431.00. As of March 24, 2025, DHCS

 estimates that it had spent $627,008,028.15 of these grant awards, and had allocated or obligated

 the remaining $119,518,402.85. On March 24, 2025, DHCS had received and was processing

 invoices for some of these funds. I am informed and believe that there are also invoices DHCS

 has not yet received for expenditures and services that occurred prior to March 24, 2025.

        9.       The SUBG CRRSAA grant program provides funds to prevent and treat substance

 use; the MHBG CRRSAA grant program provides funds to provide comprehensive community

 mental health services; the SUBG ARPA grant program provides fund to help plan, implement,

 and evaluate activities that prevent and treat substance use; the MHBG ARPA grant program

 provides funds to establish or expand an organized community-based system of care for

 providing non-Title XIX mental health services to children with serious emotional disturbances

 (SEDs) and adults with serious mental illness (SMIs); and the COVID-19 Mitigation grant

 provides funds to prevent, prepare for, and respond to the COVID-19 public health emergency

 and ensure the continuity of services to support individuals connected to the behavioral health

 system.

           10. As set out in its grant proposal, DHCS uses the SUBG CRRSAA and

 SUBG ARPA grants to provide SUBG funding for state level contracts and to local

 governments, community-based organizations, tribal organizations, county governments, clinics

 and coalitions, to either provide substance use disorder (SUD) services directly or by contracting

 with local SUD providers. The SUBG Program’s objective is to help plan, implement, and

 evaluate activities that prevent and treat SUDs. Grantees use the SUBG program for prevention,




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 treatment, recovery support, and other services to supplement Medicaid and to provide SUD

 treatment for people who are underinsured or uninsured.

        11.     On March 24, 2025, DHCS received five award termination notices from

 SAMHSA. The total value of the terminated awards is in excess of $119 million. These

 termination notices stated they were on the basis of the end of the COVID pandemic, rather than

 a failure by DHCS to follow the terms and conditions of the grants. Each termination stated as

 follows: “On April 10, 2023, President Biden signed PL 188-3 terminating the national

 emergency concerning the COVID-19 pandemic. Consistent with the President’s Executive

 Order 14222, Implementing the President’s “Department of Government Efficiency” Cost

 Efficiency Initiative requiring a comprehensive review of SAMHSA grants, and where

 appropriate and consistent with applicable law, terminate such grants to reduce the overall

 Federal spending this grant is being terminated effective March 24, 2025. These grants were

 issued for a limited purpose: To ameliorate the effects of the pandemic. The end of the pandemic

 provides cause to terminate COVID-related grants. Now that the pandemic is over, the grants are

 no longer necessary.” (Emphasis in original)

        12.     On March 28, 2025, DHCS received five award termination notices from

 SAMHSA that stated they should replace and supersede the previous termination notices

 received on March 24, 2025. Each subsequent termination notice stated as follows: “The

 termination of this award is for cause. The block grant provisions at 42 U.S.C. §300x-55 permit

 termination if the state ‘has materially failed to comply with the agreements or other conditions

 required for the receipt of a grant under the program involved.’” Although these notices assert

 that their terminations are for cause, they do not provide a factual basis demonstrating a material

 failure by the state. Furthermore, SAMHSA has not contacted DHCS regarding any alleged



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 failure to comply with the terms and conditions of the grant awards, or applicable federal

 guidance or regulations.

          13.   As a result of these terminations, the U.S. Department of Health and Human

 Services’ (HHS) Payment Management Services (PMS) was closed from DHCS drawing down

 funds for the aforementioned grants. Days later, on the evening of March 28, 2025, SAMHSA

 sent another notice to DHCS. The notice confirmed the termination of funds and stated DHCS

 could seek approval for reimbursement of costs that DHCS incurred prior to the termination date.

 Because SAMHSA’s notice stated that SAMHSA might return the reimbursement requests to

 DHCS without approval, it is unclear whether DHCS will recoup any of its unpaid incurred

 costs.

          14.   As of March 24, 2025, DHCS was still in the process of drawing down funds to

 pay for services funded with SUBG and MHBG CRRSAA grant funds in accordance with the

 grant terms and conditions and applicable federal regulations and guidance. In connection with

 other SAMHSA grants, at the end of a grant, SAMHSA has provided DHCS notice of the grant

 period ending. DHCS then would have a specified period of time to provide all invoices and

 complete all reporting requirements.

          15.   The SUBG and MHBG ARPA grant period ends on September 30, 2025. Services

 were ongoing on the date the termination was issued so DHCS was still in the process of drawing

 down funds to pay for ongoing services in accordance with the grant terms and conditions and

 applicable federal regulations and guidance.

          16.   The COVID-19 Mitigation grant period also ends on September 30, 2025, and

 services were ongoing on the date of termination.




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        17.     I am providing this declaration to explain certain adverse impacts on the State of

 California that are caused by the federal government terminating these grant programs and

 preventing disbursement of federal grant awards for expenses already incurred or funds that have

 been allocated or encumbered and to explain more generally certain adverse impacts that are or

 might be caused when the federal government takes such action.

                                 DHCS SAMHSA Grant Details

        18.     On March 11, 2021, SAMHSA issued a Notice of Award setting forth the terms

 and conditions of the MHBG CRRSAA grant to the California Department of Health Care

 Services in the amount of $108,247,196 for the award period of March 15, 2021, through March

 14, 2023. On March 26, 2024, SAMHSA issued a Notice of Award maintaining the original

 terms and conditions and extending the end of the award period to March 14, 2025, under a

 Retroactively Approved No Cost Extension. A true and correct copy of the corresponding Notice

 of Award dated March 11, 2021, and the Retroactively Approved No Cost Extension dated

 March 26, 2024, and its attachments, dated March 11, 2021, and March 26, 2024, respectively,

 are attached as Exhibits A and B, respectively.

        19.     On March 11, 2021, SAMHSA issued a Notice of Award setting forth the terms

 and conditions of the SUBG CRRSAA grant to the California Department of Health Care

 Services in the amount of $238,465,012 for the award period of March 15, 2021, through March

 14, 2023. A true and correct copy of the corresponding Notice of Award and its attachments,

 dated March 11, 2021, is attached as Exhibit C.

        20.     On May 17, 2021, SAMHSA issued a Notice of Award setting forth the terms and

 conditions of the SUBG ARPA grant to the California Department of Health Care Services in the

 amount of $205,947,056 for the award period of September 1, 2021, through September 30,



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 2025. A true and correct copy of the corresponding Notice of Award and its attachments, dated

 May 17, 2021, is attached as Exhibit D.

        21.     On May 17, 2021, SAMHSA issued a Notice of Award setting forth the terms and

 conditions of the MHBG ARPA grant to the California Department of Health Care Services in

 the amount of $186,972,433 for the award period of September 1, 2021, through September 30,

 2025. A true and correct copy of the corresponding Notice of Award and its attachments, dated

 May 17, 2021, is attached as Exhibit E.

        22.     On August 10, 2021, SAMHSA issued a Notice of Award setting forth the terms

 and conditions of the COVID-19 Mitigation grant to the California Department of Health Care

 Services in the amount of $6,434,404 for the award period of September 1, 2021, through

 September 30, 2025. A true and correct copy of the corresponding Notice of Award and its

 attachments, dated August 10, 2021, is attached as Exhibit F.

        23.     As of March 24, 2025, DHCS has expended all $108,247,196.00 of its awarded

 MHBG CRRSAA funds.

        24.     As of March 24, 2025, DHCS has expended $232,963,781.35 of its awarded

 SUBG CRRSAA funds, but was unable to draw down $5,501,230.65 in funds through the HHS

 Payment Management System (PMS) despite the funds being obligated in accordance with the

 terms and conditions of the grant award and applicable federal regulations and guidance.

 Although SAMHSA notified DHCS on March 28, 2025, of some limited potential drawdown to

 reimburse DHCS for costs incurred prior to the termination, it is uncertain how much, if any, of

 the remaining funds DHCS will be able to access.

        25.     As of March 24, 2025, DHCS has expended $154,578,499.71 of its awarded

 SUBG ARPA funds, but was unable to draw down $51,368,556.29 in funds through the HHS



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 PMS despite the funds being obligated or allocated in accordance with the terms and conditions

 of the grant award and applicable federal regulations and guidance.

        26.     As of March 24, 2025, DHCS has expended $124,706,169.09 of its awarded

 MHBG ARPA funds, but was unable to draw down $62,266,263.91 in funds through the HHS

 PMS despite the funds being obligated or allocated in accordance with the terms and conditions

 of the grant award and applicable federal regulations and guidance.

        27.     As of March 24, 2025, DHCS has expended $6,512,382 of its awarded COVID-

 19 Mitigation funds, but was unable to draw down $382,352.00 in funds through the HHS PMS.

        28.     Although the majority of funds are expended, DHCS will suffer immediate

 negative impacts if DHCS does not receive the grant money it is relying on, or if receipt of that

 money is delayed due to PMS being closed. For instance, these terminations in funding will be

 immediately felt since DHCS will be unable to timely reimburse for services already provided by

 DHCS’s partners and contractors. DHCS relied upon the SAMHSA grants in contracting for the

 services. If DHCS is unable to reimburse its partners and contractors, including counties and

 other public entities, for services that have already been provided but not paid for, it could lead

 to significant cash flow and funding challenges for those partners, creating a waterfall of

 negative impacts due to DHCS’s inability to timely reimburse claims.

        29.     DHCS’s Fiscal Year 2024-25 budget relies on federal funds, including grant

 funds, and DHCS made plans and allocated funding for programming based on SAMHSA’s

 notices of award and extensions of federal funding pursuant to these five grants. In developing its

 annual budget, DHCS did so with the expectation that it would, in fact, promptly receive the

 federal funds to which it is entitled under its existing agreements under the aforementioned

 federal programs, on the specific timetables set forth under those agreements and programs. A



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 disruption in the receipt of those federal funds creates significant difficulties for DHCS, the

 programs and offices it oversees, and the many entities that receive DHCS funding. In

 California, county and local partners administer the vast majority of behavioral health and human

 services programs. If the federal administration is permitted to withhold federal funding for these

 programs, it will have a harmful effect on local communities, including potentially significant

 adverse health outcomes such as increased overdose rates, increased psychiatric emergency

 admissions to hospitals and emergency departments, and increased suffering due to untreated

 behavioral health conditions.

        30.      As mentioned above, any termination or pause in the receipt of these federal

 grants would cause significant problems for DHCS’s operations and programs, which could

 result in adverse effects on health care delivery. Termination, or even a significant delay, would

 result in State and local programs being unable to absorb such a loss without cutting staff and

 services. State and local governments would be unable to make up this shortfall in funding, and

 behavioral health care services could be drastically curtailed as a consequence.

        31.      The abrupt and unexpected termination, along with the lack of information as to

 whether DHCS would be able to pay invoices for services already provided, caused confusion

 and significant work to address the issue. DHCS received inquiries from its many partners

 regarding the terminations and their consequences but did not have information to provide to

 stakeholders. DHCS continues to receive inquiries as to the impact on DHCS’s programs and

 whether services are available to members and has had to expend resources to respond to these

 consequences.

        32.      DHCS continues to be concerned that the federal funding for these services and

 obligations entered into in reliance on these grants will be denied and that any other grants will



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 similarly be terminated without notice after services have been provided and obligations incurred

 in reliance on the grants.

                          Compliance with Grant Terms and Conditions

                              and Harms Caused by Grant Terminations

        33.     Since March 2021, DHCS has used the SUBG CRRSAA, MHBG CRRSAA,

 SUBG ARPA, MHBG ARPA, and the COVID-19 Mitigation grant funds in a manner fully

 consistent with SAMHSA’s statements regarding the nature of the grant, all applicable federal

 guidance and regulations, and DHCS’ grant applications approved by SAMHSA.

        34.     Specifically, as the COVID-19 pandemic intensified behavioral health needs

 across California and created new barriers for people with mental illness and substance use

 disorders, DHCS funded the Behavioral Health Response and Rescue Project (BHRRP) with the

 SUBG CRRSAA, MHBG CRRSAA, SUBG ARPA, MHBG ARPA and the COVID-19

 Mitigation grants to increase access to behavioral health care for all Californians.

        35.     BHRRP is comprised of numerous targeted behavioral health programs that will

 be negatively impacted by the termination of the SUBG CRRSAA, MHBG CRRSAA, SUBG

 ARPA, MHBG ARPA, and the COVID-19 Mitigation grants. These grants funded behavioral

 health programs in a way that is designed to ultimately expand access to care in the Medi-Cal

 program. In many cases, these grant funds support initial capacity development, workforce

 expansion, and technical assistance to providers to gain capabilities, develop service arrays, and

 increase clinical capacities that would become permanently sustainable and reimbursable under

 the Medi-Cal program. The termination of these grant funds will have a significant, detrimental

 impact on the Medi-Cal program as some of these grant funds support the initial development of

 Medi-Cal programs to maturity.



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        36.     DHCS relied and acted upon its expectation and understanding that SAMHSA

 would fulfill its commitment to provide SUBG and MHBG CRRSAA, SUBG and MHBG

 ARPA, and COVID-19 Mitigation Grant funding it had awarded to DHCS. If not for its reliance

 on the grant funding, DHCS would not have developed these BHRRP programs, and would not

 have dedicated significant state funds and resources to these BHRRP programs. Furthermore, the

 entities that DHCS engaged to implement these BHRRP programs relied upon these funding

 sources when developing their budgets and agreeing to provide these essential behavioral health

 services to Californians. If these grant funds are not restored, DHCS will not be able to

 reimburse these entities for the services they have already provided and have expended resources

 to provide through the end of the grant period.

        37.     Each of the BHRRP programs and the negative impact caused by the grant

 terminations are discussed in detail below:

        38.     The Behavioral Health Workforce Development Project: This project expands

 the behavioral health workforce statewide, analyzes the state of the current behavioral health

 workforce, and funds workforce development activities. As of March 24, 2025, $4,635,364.55 in

 SUBG ARPA grant funds could not be drawn down for this project due to PMS being

 unavailable at that time, despite being obligated in accordance with the terms and conditions of

 the grant award and applicable federal regulations and guidance. Terminating these SUBG

 ARPA funds will result in California’s certification entities being unable to certify counselors

 and other workforce members as qualified to perform this work. Without their ongoing work,

 California will not be able to address systemic gaps in workforce infrastructure and application

 backlog, and consequently, which would negatively impact Californians’ ability to receive




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 much-needed behavioral health peer support services. DHCS and its partners have expended

 considerable resources, including state funds, on this project, which is now at risk of failure.

        39.     The Behavioral Health Recovery Services Project: This project funds the

 provision of direct services, assesses recovery services currently available within the state, and

 supports expansion efforts. As of March 24, 2025, $892,056 in SUBG ARPA grant funds could

 not be drawn down for this project due to PMS being unavailable at that time, despite the funds

 being obligated in accordance with the terms and conditions of the grant award and applicable

 federal regulations and guidance. Terminating these SUBG ARPA funds may result in depriving

 over 100 California community-based organizations, tribal organizations, county governments,

 clinics, and coalitions funding necessary to provide culturally responsive recovery services,

 lower barriers to access services, integrate peer support across the recovery continuum, and

 utilize harm reduction approaches to drug use and recovery.

        40.     Foster Youth Substance Use Disorder Evidence-Based and Promising

 Practices Program: This project provides subrecipients with grant opportunities to develop and

 implement a variety of evidence-based and promising practices to serve foster youth with co-

 occurring substance use and mental health needs, including those who are residing in family-

 based settings. However, DHCS has utilized federal grant fund dollars to reimburse the Sierra

 Health Foundation to administer the grant program. As of March 24, 2025, $200,000 in SUBG

 ARPA grant funds could not be drawn down for this project due to PMS being unavailable at

 that time, despite the funds being obligated in accordance with the terms and conditions of the

 grant award and applicable federal regulations and guidance. Terminating these SUBG APRA

 funds would result in DHCS’ inability to administer the remainder of a grant program that is

 aimed at assisting foster youth with co-occurring substance use and mental health needs, a highly



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 at-risk population, and potentially place DHCS at risk of failing to comply with state and federal

 auditing requirements for its contractor failing to adhere to final report and contract closeout

 procedures.

        41.     Crisis Care Mobile Units Program and Justice Intervention Services: This

 project funds local organizations to provide a new Crisis Care Mobile Units program, prioritizing

 services for individuals 25 and younger, to support counties and regions to respond to urgent

 crises with trained teams of providers and peers, aiming to prevent unnecessary emergency

 department visits and police involvement. This project also provides behavioral health crisis

 intervention training and programs for law enforcement and other first responders. Funding will

 support social workers, counselors, case managers, and peer support specialists to be embedded

 with local law enforcement. As of March 24, 2025, $346,714 in MHBG ARPA grant could not

 be drawn down for this project due to PMS being unavailable at that time, despite the funds

 being obligated in accordance with the terms and conditions of the grant award and applicable

 federal regulations and guidance. Terminating these MHBG ARPA funds would: (1) reduce local

 organizations’ abilities to provide mobile crisis services that are able to reach any person in the

 service area in a timely manner and would connect individuals to facility-based or follow-up

 care, as needed, through handoffs and coordinated transportation to other locations, if necessary;

 (2) reduce opportunities to train law enforcement in behavioral health crisis intervention and

 reduce the availability of much-needed crisis intervention services; and (3) prevent DHCS from

 utilizing the grant funds to support development and expansion of mobile crisis services that

 would be reimbursable under Medi-Cal by providing local communities with funding to develop

 their mobile crisis infrastructure and capacity.




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        42.     Catalyst Center Technical Assistance Program: This program engages and

 assists providers in understanding, developing, and implementing programs to operate

 Psychiatric Residential Treatment Facilities (PRTFs) which provide inpatient psychiatric

 treatment services to vulnerable children and youth. As of March 24, 2025, $385,700 in MHBG

 ARPA grant funds could not be drawn down due to PMS being unavailable at that time despite

 the funds being obligated in accordance with the terms and conditions of the grant award and

 applicable federal regulations and guidance. Terminating these MHBG ARPA funds will hinder

 providers’ ability to establish and operate PRTFs, which would provide a much-needed service

 to vulnerable children and youth.

        43.     Aurrera Health Group – Project Consulting: Through this contract, Aurrera

 Health Group provides targeted training and technical assistance to counties and other

 stakeholders regarding the numerous ARPA and CRRSAA-funded BHRRP programs and their

 requirements. As of March 24, 2025, $262,500 in MHBG ARPA grant funds could not be drawn

 down due to PMS being unavailable at that time despite the funds being obligated in accordance

 with the terms and conditions of the grant award and applicable federal regulations and guidance.

 Terminating these MHBG ARPA funds will prevent additional BHRRP program training and

 technical assistance opportunities, which may deter less-sophisticated counties and stakeholders

 from participating in the BHRRP programs.

        44.     Project Outcomes Analysis: Under this program, the University of California,

 Los Angeles, would analyze CRRSAA and ARPA grant-funded projects and report outcomes to

 assist the state in identifying changes to the behavioral health system to address the needs of

 local communities. As of March 24, 2025, $380,000 in MHBG ARPA grant and $260,000 in

 SUBG ARPA grant funds could not be drawn down due to PMS being unavailable at that time



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 despite the funds being obligated in accordance with the terms and conditions of the grant award

 and applicable federal regulations and guidance. Terminating these MHBG and SUBG ARPA

 funds means critical data collection and reporting will no longer take place for these projects and

 the state will not have the data needed to improve the state’s behavioral health delivery system.

        45.     Medication Assisted Treatment (MAT) Re-Entry Incentive Program: This

 program allows parolees to reduce their parole term by 30 days for every 6 months that they

 successfully complete MAT for their substance use disorder up to a maximum of 90 days. As of

 March 24, 2025, $200,000 in SUBG ARPA funds could not be drawn down for this project due

 to PMS being unavailable at that time, despite the funds being obligated in accordance with the

 terms and conditions of the grant award and applicable federal regulations and guidance.

 Terminating these SUBG ARPA funds will reduce parolees’ incentive to complete MAT and

 may increase their risk of substance use disorder relapse and recidivism.

        46.     Statewide Primary Prevention Evidence-Based Registry: Under this program,

 the University of California, Los Angeles, is developing a registry of replicable primary

 prevention programs, practices, and strategies that are evidence-based and/or community-defined

 evidence-based for counties to utilize in their local decision-making. As of March 24, 2025,

 $53,575 SUBG ARPA grant funds could not be drawn down for this project due to PMS being

 unavailable at that time, despite the funds being obligated in accordance with the terms and

 conditions of the grant award and applicable federal regulations and guidance. Terminating these

 SUBG ARPA funds would prevent DHCS from implementing this registry statewide and would

 deprive communities of a resource that would improve prevention efforts at the local level.

        47.     Statewide First Episode Psychosis (FEP) Technical Assistance: Through this

 program, UC Davis assists MHBG funded counties with developing plans to implement and



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 operate Early Psychosis Intervention programs using the Coordinated Specialty Care model for

 the treatment of First-Episode Psychosis. As of March 24, 2025, $1,488,915 of MHBG ARPA

 grant could not be drawn down for this project due to PMS being unavailable at that time, despite

 the funds being obligated in accordance with the terms and conditions of the grant award and

 applicable federal regulations and guidance. Terminating this MHBG ARPA funding will

 prevent counties from receiving this much-needed technical assistance and may prevent

 Californians from accessing much-needed Early Psychosis Intervention programs. Furthermore,

 terminating these funds would prevent DHCS from utilizing the grant funds to support the

 technical assistance and expansion of Coordinated Specialty Care services to individuals

 experiencing First-Episode Psychosis that would be reimbursable under Medi-Cal by providing

 support to local communities to develop their infrastructure and capacity for these critical

 services.

        48.     Mental Health Continuum Analysis: Through this program, the University of

 California, San Francisco is researching gaps within the mental health continuum of care to

 inform state policy. This program supports critical consulting services to DHCS to assist the state

 in developing its behavioral health policy and clinical issues. As of March 24, 2025, $173,061.50

 MHBG ARPA grant funds could not be drawn down for this project due to PMS being

 unavailable at that time, despite the funds being obligated in accordance with the terms and

 conditions of the grant award and applicable federal regulations and guidance. Termination of

 this funding will undermine DHCS’ capacity to receive the support needed to make statewide

 policy decisions on behavioral health policy and clinical issues.

        49.     CalBridge: Through this program, the Public Health Institute provides Medi-Cal

 Community Health Worker training and technical assistance to over 275 hospitals that employ



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 behavioral health navigators in their emergency departments. As of March 24, 2025, $20,754

 MHBG ARPA funds could not be drawn down for this project due to PMS being unavailable at

 that time, despite the funds being obligated in accordance with the terms and conditions of the

 grant award and applicable federal regulations and guidance. The CalBridge program has led to

 higher rates of treatment engagement among individuals with opioid use disorder, which is

 associated with lower risks of morbidity and mortality. Terminating this MHBG ARPA funding

 may prevent the Public Health Institute from continuing its training efforts and may negatively

 impact Medi-Cal beneficiaries’ ability to receive much-needed Community Health Worker

 services due to a lack of qualified providers. Furthermore, terminating these funds would prevent

 DHCS from utilizing the grant funds to support the implementation and expansion of

 Community Health Worker services that would be reimbursable under Medi-Cal by providing

 support to local communities to develop their infrastructure and capacity for these vital services.

        50.     Disaster Behavioral Health Technical Assistance: This project expands the

 disaster relief behavioral health provider network statewide and provides training and technical

 assistance to crisis counselors to serve persons and populations affected by natural disasters in

 California. As of March 24, 2025, $103,500 MHBG ARPA funds could not be drawn down for

 this project due to PMS being unavailable at that time, despite the funds being obligated in

 accordance with the terms and conditions of the grant award and applicable federal regulations

 and guidance. Termination of these remaining funds would be detrimental to DHCS as these

 funds are obligated to pay for training and technical assistance contracts and would leave DHCS

 without funding to pay invoices for work performed and may result in Californians affected by

 natural disasters not receiving needed crisis counseling and other behavioral health services.




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         51.     COVID-19 Testing & Mitigation Project: Through this project, DHCS

 expanded dedicated COVID-19 testing and mitigation resources for people with mental health

 and substance use disorders. These funds provide resources to prevent, prepare for, and respond

 to COVID-19 and ensure the continuity of services to support individuals connected to the

 behavioral health system. As of March 24, 2025, $218,486 of COVID-19 Mitigation grant funds

 could not be drawn down for this project due to PMS being unavailable at that time, despite the

 funds being obligated in accordance with the terms and conditions of the grant award and

 applicable federal regulations and guidance. Termination of the remaining funds will result in

 Californians not receiving education on COVID-19 testing or onsite COVID-19 testing. There

 will be no funding to continue collaborating with community partners to prevent infectious

 disease transmission, expand COVID-19 response services for individuals connected to the

 behavioral health system, and support the maintenance of healthy environments. Furthermore,

 grantees receiving funds will no longer provide COVID education and testing in behavioral

 health facilities

                               County SUBG and MHBG ARPA

         52.     Of the $205,947,056.00 SUBG ARPA funds awarded to DHCS, during fiscal year

 2024-2025, DHCS allocated $22,814,952.21 to be distributed to California counties through

 subawards.

         53.     Of the $186,972,433.00 MHBG ARPA funds awarded to DHCS during fiscal year

 2024-2025, DHCS allocated $10,417,877.89 to be distributed to the counties through subawards.

         54.     Counties are required to utilize the SUBG and MHGB APRA funding to: 1)

 expand access to behavioral health care in California through investments in prevention, crisis

 response, intervention and treatment, and recovery services; 2) improve health outcomes across



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 the behavioral health care system by targeting the needs of the most vulnerable communities; and

 3) inform policy decisions through research and data analysis on the behavioral health

 workforce, the behavioral health continuum of care, and the overall effectiveness of BHRRP

 programs.

        55.     As of March 24, 2025, $19,295,635.49 of SUBG ARPA funds that DHCS

 allocated to the counties could not be drawn down due to PMS being unavailable at that time,

 despite the funds being obligated in accordance with the terms and conditions of the grant award

 and applicable federal regulations and guidance.

        56.     As of March 24, 2025, $6,877,076.89 of MHBG ARPA funds that DHCS

 allocated to the counties could not be drawn down due to PMS being unavailable at that time,

 despite the funds being obligated in accordance with the terms and conditions of the grant award

 and applicable federal regulations and guidance.

        57.     Termination of the SUBG and MHBG ARPA grants will prevent the counties

 from continuing their efforts to increase access to behavioral health care services to members of

 their communities, including:

        58.     Crisis Care Mobile Units and Mobile Crisis Services: Almost all California

 counties utilized MHBG ARPA funds to build out the infrastructure and staffing to support

 California’s new statewide Medi-Cal mobile crisis benefit. Although the new benefit primarily

 targets Medi-Cal members, thousands of Californians with both public and private insurance

 have benefitted from county mobile crisis team services. Termination of the remaining funds will

 result in immediate, detrimental impacts to the counties including loss of staffing and reduction

 in infrastructure capabilities, which would reduce access to critical Crisis Care Mobile Units and

 Mobile Crisis Services, resulting in: (1) increased delays in crisis response; (2) longer wait times



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 for individuals to be stabilized and receive appropriate treatment; and (3) patients languishing in

 emergency departments. I am informed and believe that numerous counties, including but not

 limited to those listed below, implemented the services described above and will be harmed by

 the termination of the grant funding, including but not limited to the harms described above:

 Merced, Tehama, Trinity, Santa Cruz, Santa Clara, Fresno, Alameda, Del Norte, Stanislaus, San

 Luis Obispo, Monterey, Mono, Riverside, Marin, San Diego, Lassen, Lake, and all recipients of

 the funding source.

        59.     Coordinated Specialty Care for First Episode Psychosis: County behavioral

 health agencies utilized MHBG ARPA funds to successfully implement Coordinated Specialty

 Care services for individuals experiencing First Episode Psychosis. These services address

 psychosis at its earliest signs in order to prevent the illness from progressing to the level of

 disability, homelessness, substance use, and worse. Terminating these grant funds will result in

 the failure to identify the early signs of psychosis in individuals causing an increase in local

 emergency department utilization, crisis evaluations, and inpatient psychiatric treatments. I am

 informed and believe that numerous counties, including but not limited to those listed below,

 implemented the services described above and will be harmed by the termination of the grant

 funding, including but not limited to the harms described above: El Dorado, Santa Clara, San

 Luis Obispo, Napa, Ventura, Marin, Mendocino, Santa Cruz, Stanislas, Riverside, and all

 recipients of the funding source.

        60.     Residential Substance Use Disorder Services: Counties utilize these SUBG

 ARPA funds to cover the cost of room and board for individuals receiving Medi-Cal

 reimbursable residential substance use disorder treatment services. Additionally, counties utilize

 these funds to cover the cost of providing residential treatment services to individuals who are



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 not eligible to receive Medi-Cal but cannot otherwise afford residential substance use disorder

 treatment services. Terminating these SUBG ARPA funds forces the counties to utilize funding

 from other sources to cover the cost of room and board and prevent counties from being able to

 provide substance use disorder residential treatment services to individuals who may not have

 otherwise been able to obtain it. I am informed and believe that numerous counties, including but

 not limited to those listed below, implemented the services described above and will be harmed

 by the termination of the grant funding, including but not limited to the harms described above:

 El Dorado, Lassen, and Mono.

        61.     SUD Prevention & Early Intervention Services for Youth: Counties utilize

 SUBG ARPA funds to support their local prevention and early intervention services programs

 for their local youth and adolescents. For example, Friday Night Live programs engage at-risk

 youth in an effort to decrease underage alcohol, marijuana, and methamphetamine use and

 prescription drug misuse among youth and young adults. These programs utilize youth-led

 projects, events, and sessions to improve school climates, encourage community involvement,

 and increase knowledge in areas of health. Additionally, counties utilized these funds to

 distribute overdose prevention kits along with other items to prevent disease spread in high-risk

 areas. Terminating this funding will force counties to divert funds from other services or will

 need to terminate services and activities, resulting in increased substance use among youth and

 adolescents. I am informed and believe that numerous counties, including but not limited to those

 listed below, implemented the services described above and will be harmed by the termination of

 the grant funding, including but not limited to the harms described above: Los Angeles, Inyo,

 Trinity, Santa Cruz, Santa Clara, Fresno, Alameda, Stanislaus, San Luis Obispo, Monterey,

 Napa, Riverside, Butte, Ventura, Shasta, Marin, Mendocino, Amador.



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                 Additional Funding for Existing Behavioral Health Initiatives

        62.     DHCS has earmarked approximately $78 million of the remaining SUBG ARPA,

 and MHBG ARPA grant dollars to continue to fund existing important behavioral health

 initiatives including: Crisis Care Mobile Units services; First Episodic Psychosis Technical

 Assistance; California Advancing and Innovating Medi-Cal (CalAIM) initiatives; Behavioral

 Health Community-Based Organized Networks of Equitable Care and Treatment (BH-

 CONNECT) initiatives; Behavioral Health Transformation (BHT); County SUBG ARPA

 allotments; and County MHBG allotments. Terminating these SUBG ARPA, and MHBG ARPA

 grants will prevent DHCS from: supporting and expanding the key behavioral health initiatives

 described throughout this declaration that have demonstrated positive and meaningful outcomes

 throughout the State; advancing the implementation of recently developed behavioral health

 initiatives; and allocating additional ARPA funds to high-performing counties to continue

 delivering quality behavioral health services. As a result, Californians will be deprived of critical

 behavioral services, negatively impacting communities desperately in need of those services.

         63. All of these numbers are broad estimates and subject to change.

        I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

                Executed on March 30, 2025, at Sacramento, California.




                                               _____________________________________
                                                     Marlies Perez




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     Please Note: A letter from Acting Assistant Secretary for Mental Health and
     Substance Use, Tom Coderre, will be sent via eRA Commons.

    STANDARD TERMS AND CONDITIONS

    MHBG FY2021 COVID emergency funding
     Remarks:
     This Notice of Award (NoA) provides COVID emergency relief funding for the
     Community Mental Health Services (MHBG) Block Grant Program, in accordance
     with the Coronavirus Response and Relief Supplement Appropriations Act, 2021 [P.L.
     116-260]. The awarded funds must be used for activities consistent with the MHBG
     program requirements.
     A proposal of the state’s spending plan must be submitted by April 5, 2021 via the
     Web Block Grant Application System (WebBGAS). Further information on this is
     included in the letter from Acting Assistant Secretary for Mental Health and Substance
     Use, Tom Coderre.


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a MHBG.
     Once an award is accepted by a recipient, the contents of the Notice of Award (NoA)
     are binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement: By drawing down funds, The recipient agrees to abide by
     the statutory requirements of all sections of the Mental Health Block Grant (MHBG)
     (Public Health Service Act, Sections 1911-1920 and sections 1941-1957) (42 U.S.C.
                                            , as amended), and other administrative and legal
     requirements as applicable for the duration of the award.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by March 14,
     2023. However, SAMHSA will consider extensions to this period of funding upon
     request.
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     4) Administrative Requirements
     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351 75.353, Sub-recipient monitoring and management.
     6) Early Serious Mental Illness Set-Aside
     The 21st Century Cures Act, P.L. 114-255 amended Section 1920(c) of the Public
     Health Service Act (42 U.S.C. 300x 9(c)). States must set-aside not less than 10
     percent of their total MHBG allocation amount for each fiscal year to support
     evidence-based programs that address the needs of individuals with early serious
     mental illness, including psychotic disorders, regardless of the age of the individual at
     onset. In lieu of expending 10 percent of the amount, the State receives for a fiscal
     year, states have the flexibility to expend not less than 20 percent of such amount by
     the end of the succeeding fiscal year.
     7) Crisis Services 5% set-aside
     The Consolidated Appropriations Act, 2021 and the Coronavirus Response and Relief
     Supplement Appropriations Act, 2021 [P.L. 116-260] requires states to set-aside not
     less than 5 percent of their total MHBG allocation amount for each fiscal year to
     support evidence-based crisis care programs addressing the needs of individuals with
     serious mental illnesses and children with serious mental and emotional disturbances.
     The set- aside must be used to fund some or all of a set of core crisis care elements
     including: centrally deployed 24/7 mobile crisis units, short-term residential crisis
     stabilization beds, evidence-based protocols for delivering services to individuals with
     suicide risk, and regional or State-wide crisis call centers coordinating in real time.
     8) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     9) Marijuana Restriction:
     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
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     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
     10) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:
     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not

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     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     11) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)

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     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
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     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.
     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     12) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
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     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures,


                       (Include “Mandatory Grant Disclosures” in subject line) or email:
     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     13) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     14) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     15) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
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     16) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     17) Audits
     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
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                      EXHIBIT B
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                                                 Notice of Award
  MHBG                                                         Issue Date: 03/26/2024
  Department of Health and Human Services
  Substance Abuse and Mental Health Services Administration

  Center for Mental Health Services


    Award Number:
    FAIN:
    Contact Person:

    Program: Block Grants for Community Mental Health Services

    HEALTH CARE SERVICES, CALIFORNIA DEPARTMENT OF




    Award Period: 03/15/2021 – 03/14/2025

    Dear Grantee:

    The Substance Abuse and Mental Health Services Administration hereby awards a grant in the amount of
    $0 (see “Award Calculation” in Section I) to HEALTH CARE SERVICES, CALIFORNIA DEPARTMENT OF in
    support of the above referenced project. This award is pursuant to the authority of Subparts I&III,B,Title
    XIX,PHS Act/45 CFR Part96 and is subject to the requirements of this statute and regulation and of other
    referenced, incorporated or attached terms and conditions.

    Acceptance of this award including the “Terms and Conditions” is acknowledged by the grantee when funds
    are drawn down or otherwise obtained from the grant payment system.

    If you have any questions about this award, please contact your Grants Management Specialist and your
    Government Project Officer listed in your terms and conditions.


    Sincerely yours,




    See additional information below




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    SECTION I – AWARD DATA –

    FEDERAL FUNDS APPROVED:                                                                                       $108,247,196

    AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                                                 $0

    CUMULATIVE AWARDS TO DATE:                                                                                    $108,247,196

    UNAWARDED BALANCE OF CURRENT YEAR’S FUNDS:                                                                             $0


    Fiscal Information:
    CFDA Number:
    EIN:
    Document Number:
    Fiscal Year:                                                                   2021

    IC                             CAN                                                              01
                                                                                                    $0


    PCC: CMHS / OC: 4115

    SECTION II – PAYMENT/HOTLINE INFORMATION –

    Payments under this award will be made available through the HHS Payment Management System (PMS).
    PMS is a centralized grants payment and cash management system, operated by the HHS Program Support
    Center (PSC), Division of Payment Management (DPM). Inquiries regarding payment should be directed to:
    The Division of Payment Management System,                                   , Help Desk Support –
    Telephone Number:

    The HHS Inspector General maintains a toll-free hotline for receiving information concerning fraud, waste, or
    abuse under grants and cooperative agreements. The telephone number is: 1-800-HHS-TIPS (1-800-447-
    8477). The mailing address is:


    SECTION III – TERMS AND CONDITIONS –

    REMARKS:

    This NoA retroactively approves the second No Cost Extension (NCE)
    up to 03/14/2025 for the award as per grantee's request submitted in
    WebBgas.

    All previous terms and conditions remain in full force and effect.
    In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix XII to 45 CFR Part
    75, recipients that have currently active Federal grants, cooperative agreements, and procurement contracts
    with cumulative total value greater than $10,000,000 must report and maintain information in the System for
    Award Management (SAM) about civil, criminal, and administrative proceedings in connection with the
    award or performance of a Federal award that reached final disposition within the most recent five-year
    period. The recipient must also make semiannual disclosures regarding such proceedings. Proceedings
    information will be made publicly available in the designated integrity and performance system (currently
    the Federal Awardee Performance and Integrity Information System (FAPIIS)). Full reporting requirements
    and procedures are found in Appendix XII to 45 CFR Part 75.

    Staff Contacts:


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                     , Program Official
    Phone:           Email:                                 @samhsa.hhs.gov

             Grants Specialist
    Phone:            Email:                   @samhsa.hhs.gov Fax:




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     Substance Use,                  , will be sent via eRA Commons.

    STANDARD TERMS AND CONDITIONS

    SABG FY21 COVID emergency funding
     Remarks:
     This Notice of Award (NoA) provides COVID emergency relief funding for the
     Substance Abuse Prevention and Treatment (SABG) Block Grant Program, in
     accordance with the Coronavirus Response and Relief Supplement Appropriations Act,
     2021 [P.L. 116-260]. The awarded funds must be used for activities consistent with
     the SABG program requirements.
     A proposal of the state’s spending plan must be submitted by April 5, 2021 via the
     Web Block Grant Application System (WebBGAS). Further information on this is
     included in the letter from Acting Assistant Secretary for Mental Health and Substance
     Use, Tom Coderre.


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a SABG.
     Once a recipient accepts an award, the contents of the Notice of Award (NoA) are
     binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement:
     By drawing down funds, The recipient agrees to abide by the statutory requirements of
     all sections of the Substance Abuse Prevention and Treatment Block Grant (SABG)
     (Public Health Service Act, Sections 1921-1935 and sections 1941-1957) (42 U.S.C.
                                              , as amended), and other administrative and
     legal requirements as applicable for the duration of the award.
     2) Availability of Funds
     Funds provided under this grant must be obligated and expended by March 14,
     2023. However, SAMHSA will consider extensions to this period of funding upon
     request.
     3) Administrative Requirements
     This NoA issued is subject to the administrative requirements for HHS block grants
     under 45 CFR Part 96, as applicable, and 45 CFR Part 75, as specified. Except for
     section 75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
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     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Except for any waiver granted explicitly elsewhere in this section, this award does not
     constitute approval for waiver of any Federal statutory/regulatory requirements for a
     SABG.
     4) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351 75.353, Sub-recipient monitoring and management.
     5) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     6) Marijuana Restriction:
     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
     7) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
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     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:
     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not
     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     8) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
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     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
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     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.
     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
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     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     9) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures, Intake Coordinator


                       (Include “Mandatory Grant Disclosures” in subject line) or email:
     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     10) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
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     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     11) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     12) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     13) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call                                            . Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     14) Audits
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     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number:


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA
     may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
     extension of the 90-day post award reconciliation/liquidation period, but rather only an
     extension to submit the Final SF-425 report (FFR).
     Annual Report
     Reporting on the COVID emergency relief funding is required. States must prepare
     and submit their respective reports utilizing WebBGAS. Failure to comply with these
     requirements may cause the initiation of enforcement actions that can culminate in
     discontinuation of SABG grants.
     Your assigned SABG Program Official will provide further guidance and additional
     submission information.

    In accordance with the regulatory requirements provided at 45 CFR 75.113 and Appendix
    XII to 45 CFR Part 75, recipients that have currently active Federal grants, cooperative
    agreements, and procurement contracts with cumulative total value greater than
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                    EXHIBIT D
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     This Notice of Award (NoA) provides American Rescue Plan Act (ARPA)
     Supplemental Funding for the Substance Abuse Prevention and Treatment (SABG)
     Block Grant Program, in accordance with H.R. 1319 - American Rescue Plan Act of
     2021. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
     requirements with respect to allowable activities, timelines, or reporting requirements
     for the SABG as deemed necessary to facilitate a grantee’s response to coronavirus.
     A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
     Block Grant Application System (WebBGAS). Using the WebBGAS Revision Request
     for the FFY 2021 Block Grant Application, grantees are required to upload the Plan
     document (Microsoft Word or pdf), using the associated tab in the State Information
     Section, Chief Executive Officer’s Funding Agreement – Certifications and
     Assurances/Letter Designating Signatory Authority [SA]. Please title this document
     "ARPA Funding Plan 2021-SA" (States must upload separate proposals based on
     MHBG and SABG guidance into the WebBGAS system.
     Further information on this is included in the letter from Acting Assistant Secretary for
     Mental Health and Substance Use, Tom Coderre.


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a SABG.
     Once a recipient accepts an award, the contents of the Notice of Award (NoA) are
     binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement:
     By drawing down funds, The recipient agrees to abide by the statutory requirements of
     all sections of the Substance Abuse Prevention and Treatment Block Grant (SABG)
     (Public Health Service Act, Sections 1921-1935 and sections 1941-1957) (42 U.S.C.
                                               as amended), and other administrative and
     legal requirements as applicable for the duration of the award.
     2) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     3) Fiscal and administrative requirements
     This NoA issued is subject to the administrative requirements for HHS block grants
     under 45 CFR Part 96, as applicable, and 45 CFR Part 75, as specified. Except for
     section 75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
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     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     ARPA funding is being issued under a separate grant award number and has a unique
     subaccount in the Payment Management System. Accordingly, ARPA funds must be
     tracked and reported separately from other FY 2021 awarded funds, including
     COVID-19 Supplemental funding and the Annual Block Grant Allotment.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     Except for any waiver granted explicitly elsewhere in this section, this award does not
     constitute approval for waiver of any Federal statutory/regulatory requirements for a
     SABG.
     4) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351-75.353, Sub-recipient monitoring and management.
     5) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     6) Marijuana Restriction:
     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
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     7) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:
     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not
     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     8) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
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     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
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     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.

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     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     9) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures, Intake Coordinator


                            (Include “Mandatory Grant Disclosures” in subject line) or email:
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     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     10) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     11) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     12) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     13) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see

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     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     14) Audits
     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA

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     This Notice of Award (NoA) provides American Rescue Plan Act of 2021 (ARPA)
     funding for the Community Mental Health Services (MHBG) Block Grant Program, in
     accordance with H.R. 1319 – American Rescue Plan Act of 2021 the ARPA Act, 2021
     [P.L. 117-2]. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
     requirements with respect to allowable activities, timelines, or reporting requirements
     for the MHBG, as deemed necessary to facilitate a grantee’s response to coronavirus.
     A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
     Block Grant Application System (WebBGAS).
     Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
     grantees are required to upload the Plan document (Microsoft Word or pdf), using the
     associated tab in the State Information Section, Chief Executive Officer’s Funding
     Agreement – Certifications and Assurances/Letter Designating Signatory Authority
     [MH]. Please title this document “ARPA Funding Plan 2021-MH". States must upload
     separate proposals based on MHBG and SABG guidance into the WebBGAS system.
     Further information on this is included in the letter from Acting Assistant Secretary for
     Mental Health and Substance Use, Tom Coderre


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Except for any
     waiver granted explicitly elsewhere in this section, this award does not constitute
     approval for waiver of any Federal statutory/regulatory requirements for a MHBG.
     Once an award is accepted by a recipient, the contents of the Notice of Award (NoA)
     are binding on the recipient unless and until modified by a revised NoA signed by the
     GMO.
     Certification Statement: By drawing down funds, The recipient agrees to abide by
     the statutory requirements of all sections of the Mental Health Block Grant (MHBG)
     (Public Health Service Act, Sections 1911-1920 and sections 1941-1957) (42 U.S.C.
     300x-1-300x-9 and 300x-51-300x-67, as amended), and other administrative and legal
     requirements as applicable for the duration of the award.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     4) Fiscal and administrative requirements
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     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     ARPA funding is being issued under a separate grant award number and has a unique
     subaccount in the Payment Management System. Accordingly, ARPA funds must be
     tracked and reported separately from other FY 2021 awarded funds, including
     COVID-19 Supplemental funding and the Annual Block Grant Allotment.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351-75.353, Sub-recipient monitoring and management.
     6) Early Serious Mental Illness Set-Aside
     The 21st Century Cures Act, P.L. 114-255 amended Section 1920(c) of the Public
     Health Service Act (42 U.S.C. 300x 9(c)). States must set-aside not less than 10
     percent of their total MHBG allocation amount for each fiscal year to support
     evidence-based programs that address the needs of individuals with early serious
     mental illness, including psychotic disorders, regardless of the age of the individual at
     onset. In lieu of expending 10 percent of the amount, the State receives for a fiscal
     year, states have the flexibility to expend not less than 20 percent of such amount by
     the end of the succeeding fiscal year.
     7) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     8) Marijuana Restriction:

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     Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
     marijuana or treatment using marijuana. Treatment in this context includes the
     treatment of opioid use disorder. Grant funds also cannot be provided to any individual
     who or organization that provides or permits marijuana use for the purposes of treating
     substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
     ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
     requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
     manufacture, sale, purchase or distribution of marijuana). This prohibition does not
     apply to those providing such treatment in the context of clinical research permitted by
     the DEA and under an FDA-approved investigational new drug application where the
     article being evaluated is marijuana or a constituent thereof that is otherwise a banned
     controlled substance under federal law.
     9) SAM and DUNS Requirements
     THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
     25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
     DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
     Appendix A4
     System of Award Management (SAM) and Universal Identifier Requirements
     A. Requirement for System of Award Management:
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term.
     B. Requirement for unique entity identifier If you are authorized (reference project
     description) to make subawards under this award, you:
     1. Must notify potential subrecipients that no entity (see definition in paragraph C of
     this award term) may receive a subaward from you, unless the entity has provided its
     unique entity identifier to you.
     2. May not make a subaward to an entity, unless the entity has provided its unique
     entity identifier to you.
     C. Definitions. For purposes of this award term:
     1. System of Award Management (SAM) means the federal repository into which an
     entity must provide information required for the conduct of business as a recipient.
     Additional information about registration procedures may be found at the SAM
     Internet site (currently at: http://www.sam.gov).
     2. Unique entity identifier means the identifier required for SAM registration to
     uniquely identify business entities.
     3. Entity, as it is used in this award term, means all of the following, as defined at 2
     CFR Part 25, Subpart C:
     a. A governmental organization, which is a state, local government, or Indian Tribe; b.
     A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
     or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
     under an award or sub-award to a nonfederal entity.
     4. Sub-award:

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     a. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible sub-recipient. b. The term does not
     include your procurement of property and services needed to carry out the project or
     program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
     provided through any legal agreement, including an agreement that you consider a
     contract.
     5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
     award; and b. Is accountable to you for the use of the federal funds provided by the
     sub-award.
     10) Federal Financial Accountability and Transparency Act (FFATA)
     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
     a. Reporting of first tier subawards.
     1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
     you must report each action that obligates $25,000 or more in Federal funds that does
     not include Recovery funds (as defined in section 1512(a)(2) of the American
     Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
     (see definitions in paragraph e. of this award term).
     2. Where and when to report.
     i. You must report each obligating action described in paragraph a.1. of this award
     term to http://www.fsrs.gov.
     ii. For subaward information, report no later than the end of the month following the
     month in which the obligation was made. (For example, if the obligation was made on
     November 7, 2010, the obligation must be reported by no later than December 31,
     2010.)
     3. What to report. You must report the information about each obligating action that
     the submission instructions posted at http://www.fsrs.gov specify.
     b. Reporting Total Compensation of Recipient Executives.
     1. Applicability and what to report. You must report total compensation for each of
     your five most highly compensated executives for the preceding completed fiscal year,
     if
     i. the total Federal funding authorized to date under this award is $25,000 or more;
     ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
     gross revenues from Federal procurement contracts (and subcontracts) and Federal
     financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
     subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
     procurement contracts (and subcontracts) and Federal financial assistance subject to
     the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
     iii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
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     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report executive total compensation described
     in paragraph b. 1. of this award term:
     i. As part of your registration profile at https://www.sam.gov.
     ii. By the end of the month following the month in which this award is made, and
     annually thereafter.
     c. Reporting of Total Compensation of Subrecipient Executives.
     1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
     of this award term, for each first tier subrecipient under this award, you shall report the
     names and total compensation of each of the subrecipient's five most highly
     compensated executives for the subrecipient's preceding completed fiscal year, if
     i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
     more of its annual gross revenues from Federal procurement contracts (and
     subcontracts) and Federal financial assistance subject to the Transparency Act, as
     defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
     gross revenues from Federal procurement contracts (and subcontracts), and Federal
     financial assistance subject to the Transparency Act (and subawards); and
     ii. The public does not have access to information about the compensation of the
     executives through periodic reports filed under section 13(a) or 15(d) of the Securities
     Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
     Revenue Code of 1986. (To determine if the public has access to the compensation
     information, see the U.S. Security and Exchange Commission total compensation
     filings at http://www.sec.gov/answers/execomp.htm.)
     2. Where and when to report. You must report subrecipient executive total
     compensation described in paragraph c. 1. of this award term:
     i. To the recipient.
     ii. By the end of the month following the month during which you make the subaward.
     For example, if a subaward is obligated on any date during the month of October of a
     given year (i.e., between October 1 and 31), you must report any required
     compensation information of the subrecipient by November 30 of that year.
     d. Exemptions If, in the previous tax year, you had gross income, from all sources,
     under $300,000, you are exempt from the requirements to report:
     i. Subawards, and
     ii. The total compensation of the five most highly compensated executives of any
     subrecipient.
     e. Definitions. For purposes of this award term:
     1. Entity means all of the following, as defined in 2 CFR part 25:
     i. A Governmental organization, which is a State, local government, or Indian tribe;
     ii. A foreign public entity;
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     iii. A domestic or foreign nonprofit organization;
     iv. A domestic or foreign for-profit organization;
     v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
     Federal entity.
     2. Executive means officers, managing partners, or any other employees in
     management positions.
     3. Subaward:
     i. This term means a legal instrument to provide support for the performance of any
     portion of the substantive project or program for which you received this award and
     that you as the recipient award to an eligible subrecipient.
     ii. The term does not include your procurement of property and services needed to
     carry out the project or program (for further explanation, see Sec. __. 210 of the
     attachment to OMB Circular A-133, Audits of States, Local Governments, and
     Nonprofit Organizations).
     iii. A subaward may be provided through any legal agreement, including an agreement
     that you or a subrecipient considers a contract.
     4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
     under this award; and ii. Is accountable to you for the use of the Federal funds
     provided by the subaward.
     5. Total compensation means the cash and noncash dollar value earned by the
     executive during the recipient's or subrecipient's preceding fiscal year and includes the
     following (for more information see 17 CFR 229.402(c)(2)):
     i. Salary and bonus.
     ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
     recognized for financial statement reporting purposes with respect to the fiscal year in
     accordance with the Statement of Financial Accounting Standards No. 123 (Revised
     2004) (FAS 123R), Shared Based Payments.
     iii. Earnings for services under non-equity incentive plans. This does not include group
     life, health, hospitalization or medical reimbursement plans that do not discriminate in
     favor of executives and are available generally to all salaried employees.
     iv. Change in pension value. This is the change in present value of defined benefit and
     actuarial pension plans.
     v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
     Other compensation, if the aggregate value of all such other compensation (e.g.
     severance, termination payments, value of life insurance paid on behalf of the
     employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
     Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
     11) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information

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     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
     U.S. Department of Health and Human Services Office of Inspector General
     ATTN: Mandatory Grant Disclosures, Intake Coordinator


                       (Include “Mandatory Grant Disclosures” in subject line) or email:
     MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     13) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     14) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
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     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     15) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     16) Audits
     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number: (800) 253-0696


     Reporting Requirements:
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
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     Remarks:
     This Notice of Award (NoA) provides one-time funding made available by the
     American Rescue Plan Act of 2021, in accordance with H.R. 1319 – American Rescue
     Plan Act of 2021 the ARPA Act, 2021 [P.L. 117-2], available
     at https://www.congress.gov/117/bills/hr1319/BILLS-117hr1319enr.pdf.
     This funding is available to expand dedicated testing and mitigation resources for
     people with mental health and substance use disorders. These funds will provide
     resources and flexibility for states to prevent, prepare for, and respond to the
     coronavirus disease 2019 (COVID-19) public health emergency and ensure the
     continuity of services to support individuals connected to the behavioral health system.
     Required Plan Submission:
     Due by October 1, 2021. COVID-19 Response Workplan and Overview
     States must submit separate plans for expending these funds for both MHBG and
     SABG. States must explain the types of activities, including expenditures. Provide a
     detailed plan on how the state plan to implement COVID-19 testing and mitigation
     activities within the public mental health and or substance abuse system.
     Due by October 1, 2021. COVID-19 Response Budget and Budget Justification
     States must submit a budget and a budget justification capturing all expenses,
     including costs for administration at the state level and a plan to distribute it to
     providers, and subsequent reasons for the expenses in narrative format.
     Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
     upload the document (Microsoft Word or pdf) using the tab into the State Information
     Section, Chief Executive Officer’s Funding Agreement – Certifications and
     Assurances/Letter Designating Signatory Authority. Please title this document
     “COVID Mitigation Funding Plan 2021(MH)” for MHBG and “COVID Mitigation
     Funding Plan 2021 (SA)” for SABG.”
     States must upload separate proposals based on Mental Health Block Grant and
     Substance Abuse Block Grant guidance into the WebBGAS system. Upon submission,
     SAMHSA will review the proposal to ensure it is complete and responsive. Proposals
     must be submitted to WebBGAS by Friday, October 1, 2021.


     Standard Terms of Award:
     1) Acceptance of the Terms of an Award
     By drawing or otherwise obtaining funds from the HHS Payment Management System,
     the recipient acknowledges acceptance of the terms and conditions of the award and is
     obligated to perform in accordance with the requirements of the award. Once an award
     is accepted by a recipient, the contents of the Notice of Award (NoA) are binding on
     the recipient unless and until modified by a revised NoA signed by the GMO.
     2) Official Form Designee
     The States Chief Executive Officer, or authorized designee is considered the official
     form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
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     must be notified immediately before any changes in this key position are made. Please
     note that individuals that are suspended or debarred are prohibited from serving on
     Federal grant awards.
     3) Availability of Funds
     Funds provided under this grant must be obligated and expended by September 30,
     2025.
     4) Fiscal and administrative requirements
     This award is subject to the administrative requirements for HHS block grants under
     45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
     75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
     requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
     (reference 45 CFR Part 75 Subpart B, 75.101(d)).
     Fiscal control and accounting procedures - Fiscal control and accounting procedures
     must be sufficient to (a) permit preparation of reports required by the statute
     authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
     adequate to establish that such funds have not been used in violation of the restrictions
     and prohibitions of the statute authorizing the block grant.
     Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
     with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
     OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
     Organizations.” The audits shall be made by an independent auditor in accordance with
     generally accepted Government auditing standards covering financial audits.
     Financial settlement - The State must repay to the Department amounts found after
     audit resolution to have been expended improperly. In the event that repayment is not
     made voluntarily, the Department will undertake recovery.
     5) Flow-down of requirements to sub-recipients
     The grantee, as the awardee organization, is legally and financially responsible for all
     aspects of this award including funds provided to sub-recipients, in accordance with 45
     CFR 75.351 75.353, Sub-recipient monitoring and management.
     6) Executive Pay
     The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
     December 27, 2020 restricts the amount of direct salary to Executive Level II of the
     Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
     Executive Level II is $199,300.
     For awards issued prior to this change, if adequate funds are available in active awards,
     and if the salary cap increase is consistent with the institutional base salary, recipients
     may re-budget to accommodate the current Executive Level II salary level. However,
     no additional funds will be provided to these grant awards.
     7) Marijuana Restriction
     SAMHSA grant funds may not be used to purchase, prescribe, or provide
     marijuana or treatment using marijuana. See, e.g., 45 C.F.R. 75.300(a)
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     (requiring HHS to ensure that Federal funding is expended in full accordance
     with U.S. statutory and public policy requirements); 21 U.S.C. 812(c)(10) and
     841 (prohibiting the possession, manufacture, sale, purchase or distribution of
     marijuana).
     8) Anti-discrimination
     You must administer your project in compliance with federal civil rights laws that
     prohibit discrimination on the basis of race, color, national origin, disability, age and,
     in some circumstances, religion, conscience, and sex (including gender identity, sexual
     orientation, and pregnancy). This includes taking reasonable steps to provide
     meaningful access to persons with limited English proficiency and providing programs
     that are accessible to and usable by persons with disabilities. The HHS Office for Civil
     Rights provides guidance on complying with civil rights laws enforced by HHS. See
     https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html and
     https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.
     • You must take reasonable steps to ensure that your project provides meaningful
     access to persons with limited English proficiency. For guidance on meeting your legal
     obligation to take reasonable steps to ensure meaningful access to your programs or
     activities by limited English proficient individuals, see https://www.hhs.gov/civil-
     rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-
     guidance/index.html and https://www.lep.gov.
     • For information on your specific legal obligations for serving qualified individuals
     with disabilities, including providing program access, reasonable modifications, and
     taking appropriate steps to provide effective communication , see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
     • HHS funded health and education programs must be administered in an environment
     free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
     discrimination/index.html.
     • For guidance on administering your project in compliance with applicable federal
     religious nondiscrimination laws and applicable federal conscience protection and
     associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
     protections/index.html and https://www.hhs.gov/conscience/religious-
     freedom/index.html.
     9) System for Award Management (SAM)
     This award is subject to requirement set forth in 2 CFR 25.110
     Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
     recipient, must maintain the currency of your information in the SAM, until you
     submit the final financial report required under this award or receive the final payment,
     whichever is later. This requires that you review and update the information at least
     annually after the initial registration, and more frequently if required by changes in
     your information or another award term. This requirement flows down to
     subrecipients and contractors under awards or subawards. SAM website: System for
     Award Management (SAM)
     10) Federal Financial Accountability and Transparency Act (FFATA)
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     Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part
     170
     The Federal Funding Accountability and Transparency Act (FFATA) was signed on
     September 26, 2006.
     Unless you are exempt, you must report each action that obligates $25,000 or more in
     Federal funds. The FFATA Subaward Reporting System (FSRS) is the reporting tool
     federal prime awardees (i.e. prime contractors and prime grants recipients) must use to
     capture and report subaward and executive compensation data regarding their first-tier
     subawards to meet the FFATA reporting requirements. Prime contract awardees must
     report against sub-contracts awarded. Prime grant awardees will report against sub-
     grants awarded. The sub-award information you enter in FSRS will display
     on USASpending.gov associated with the prime award. This furthers federal spending
     transparency.
     You must report each obligating action to http://www.fsrs.gov
     11) Mandatory Disclosures
     Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
     manner, in writing to the HHS Office of Inspector General (OIG), all information
     related to violations, or suspected violations, of Federal criminal law involving fraud,
     bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
     must disclose, in a timely manner, in writing to the prime recipient (pass through
     entity) and the HHS OIG, all information related to violations, or suspected violations,
     of Federal criminal law involving fraud, bribery, or gratuity violations potentially
     affecting the Federal award. Disclosures must be sent in writing to the awarding
     agency and to the HHS OIG at the following addresses:
         U.S. Department of Health and Human Services Office of Inspector General
         ATTN: Mandatory Grant Disclosures, Intake Coordinator



         Fax:               Include “Mandatory Grant Disclosures” in subject line) or
         email: MandatoryGranteeDisclosures@oig.hhs.gov
     Failure to make required disclosures can result in any of the remedies described in 45
     CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
     CFR parts 180 & 376 and 31 U.S.C. 3321).
     12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
     amended, and 2 C.F.R. PART 175
     The Trafficking Victims Protection Act of 2000 authorizes termination of financial
     assistance provided to a private entity, without penalty to the Federal government, if
     the recipient or subrecipient engages in certain activities related to trafficking in
     persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
     entity recipient, or a private entity subrecipient, or their employees: a) Engage in
     severe forms of trafficking in persons during the period of time that the award is in
     effect; b) Procure a commercial sex act during the period of time that the award is in
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     effect; or, c) Use forced labor in the performance of the award or subawards under the
     award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
     http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
     sec175-15.pdf.
     13) Drug-Free Workplace Requirements
     The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
     organizations receiving grants from any Federal agency agree to maintain a drug-free
     workplace. When the AR signed the application, the AR agreed that the recipient will
     provide a drug-free workplace and will comply with the requirement to notify
     SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
     comply with these requirements may be cause for debarment. Government wide
     requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
     part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
     recipients of SAMHSA grant funds must comply with the requirements in Subpart B
     (or Subpart C if the recipient is an individual) of Part 382.
     14) Lobbying
     No funds provided under the attached Notice of Award (NoA) may be used by you or
     any sub-recipient under the grant to support lobbying activities to influence proposed
     or pending federal or state legislation or appropriations. The prohibition relates to the
     use of federal grant funds and is not intended to affect your right or that of any other
     organization, to petition Congress or any other level of government, through the use of
     other nonfederal resources. Reference 45 CFR Part 93.
     15) Accessibility Provisions
     Grant recipients of Federal financial assistance (FFA) from HHS must administer their
     programs in compliance with Federal civil rights law. This means that recipients of
     HHS funds must ensure equal access to their programs without regard to a person s
     race, color, national origin, disability, age, and in some circumstances, sex and
     religion. This includes ensuring your programs are accessible to persons with limited
     English proficiency. The HHS Office for Civil Rights also provides guidance on
     complying with civil rights laws enforced by HHS. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
     of FFA also have specific legal obligations for serving qualified individuals with
     disabilities. Please see
     http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
     the HHS Office for Civil Rights for more information about obligations and
     prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
     rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
     an HHS Departmental goal to ensure access to quality, culturally competent care,
     including long-term services and supports, for vulnerable populations. For further
     guidance on providing culturally and linguistically appropriate services, recipients
     should review the National Standards for Culturally and Linguistically Appropriate
     Services in Health and Health Care at
     https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
     16) Audits
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     Non-Federal recipients that expend $750,000 or more in federal awards during the
     recipient's fiscal year must obtain an audit conducted for that year in accordance with
     the provisions of 45 CFR 96.31.
     Recipients are responsible for submitting their Single Audit Reports and the Data
     Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
     Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
     after the FY s end of the audit period. The FAC operates on behalf of the OMB.
     For specific questions and information concerning the submission process: Visit the
     Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
     toll-free number:


     Reporting Requirements:
     Annual Report
     Reporting on the ARPA funding is required. After the end of each fiscal year, a FY
     annual report is required on December 31, until the funds expire, and states must
     upload a narrative report including activities and expenditures. States must prepare
     and submit their respective reports utilizing WebBGAS. Your assigned
     MHBG Program Official will provide further guidance and additional submission
     information.
     Failure to comply with these requirements may cause the initiation of enforcement
     actions that can culminate in discontinuation of MHBG grants.
     Federal Financial Report (FFR)
     The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
     close of the performance period (project period). The SF-425 shall report total funds
     obligated and total funds expended by the grantee.
     Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
     Financial Report (FFR) via the Payment Management System (PMS). If the individual
     responsible for FFR submission does not already have an account with PMS,
     please contact PMS to obtain access.
     Recipients must liquidate all obligations incurred under an award not later than ninety
     (90) days after the end of the award obligation and expenditure period (i.e., the project
     period) which also coincides with the due date for submission of the FINAL SF-425,
     Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
     locked. SAMHSA does not approve extensions to the ninety (90) day post-award
     reconciliation/liquidation period. Therefore, recipients are expected to complete all
     work and reporting within the approved project period and the aforementioned 90-day
     post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
     occurring after the aforementioned periods are denied. In rare instances, SAMHSA
     may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
     extension of the 90-day post award reconciliation/liquidation period, but rather only an
     extension to submit the Final SF-425 report (FFR).


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